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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )         8:07CR259
                                           )
             Plaintiff,                    )
                                           )         ORDER
v.                                         )
                                           )
CRAIG FOSTER,                              )
                                           )
             Defendant.                    )



      UPON THE ORAL MOTION OF THE DEFENDANT,

       IT IS ORDERED that the Change of Plea hearing is continued to November 16,
2007 at 10:30 a.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second
Floor, Roman L. Hruska U.S. Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska.

       For this defendant, the time between November 6, 2007 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

      Since this is a criminal case, the defendant must be present, unless excused by
the Court.

      DATED this 6th day of November, 2007.

                                        BY THE COURT:


                                        s/ F.A. Gossett
                                        United States Magistrate Judge
